        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 1 of 23




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

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                                                :                        MDL Docket No. 1629
In re: NEURONTIN MARKETING,                     :
       SALES PRACTICES AND                      :                        Master File No. 04-10981
       PRODUCTS LIABILITY LITIGATION            :
----------------------------------------------- x                        Judge Patti B. Saris
                                                :
THIS DOCUMENT RELATES TO:                       :                        Magistrate Judge Leo T.
                                                :                        Sorokin
Smith v. Pfizer Inc., et al.,                   :
Civil Action No. 1:05-cv-11515-PBS              :
                                                :
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               REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’
                      MOTION FOR SUMMARY JUDGMENT

        Defendants, Pfizer Inc. and Warner-Lambert Company LLC (“defendants”), respectfully

submit this reply memorandum in support of their motion for summary judgment pursuant to

Federal Rule of Civil Procedure 56, on plaintiff’s Amended Complaint.

                                PRELIMINARY STATEMENT

        Plaintiff alleges six claims for relief in her Amended Complaint: negligence, breach of

warranty, strict liability, fraud, consumer protection, and punitive damages. Defendants moved

for summary judgment on all of plaintiff’s claims on the ground that plaintiff has no admissible

expert testimony on the essential element of causation for three independent reasons: (1) plaintiff

has no proof that Mr. Smith’s prescribers relied on the Neurontin package insert, or that different

warnings would have changed Mr. Smith’s prescribers’ decision to prescribe Neurontin to him

and thus plaintiff cannot prove that any allegedly inadequate warnings proximately caused Mr.

Smith’s suicide; (2) plaintiff has no evidence that Mr. Smith ingested Neurontin at any time

temporally related to his suicide; and (3) plaintiff has no admissible expert testimony on the issue



                                               -1-
5127283v.1
           Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 2 of 23




of specific causation.1 In addition, defendants moved for summary judgment on plaintiff’s

breach of warranty, fraud, and Tennessee Consumer Protection Act claims on additional,

independent grounds. Plaintiff expressly agrees that summary judgment should be granted on

her express warranty and Tennessee Consumer Protection Act claims. Pl. Opp. at 1. Plaintiff’s

admission that she cannot prove these claims is also fatal to her fraud claim, which obviously

demands a higher level of proof.

           Plaintiff’s response fails to raise any basis to avoid summary judgment. First, plaintiff

has no evidence that Mr. Smith’s prescribers even reviewed the Neurontin label prior to

prescribing Neurontin to Mr. Smith, and plaintiff admits that she has no evidence that Mr.

Smith’s prescribers would have changed their prescribing decisions had different warnings been

given, which is the “dispositive question” in products liability cases such as this one. Second,

plaintiff has no admissible evidence that Mr. Smith ingested Neurontin at any time temporally

related to his suicide. Third, and as defendants’ motion to exclude the expert testimony of Dr.

Maris and Professor Trimble makes clear (Doc. 1629), plaintiff has no admissible expert

testimony that Neurontin caused Mr. Smith’s suicide. Plaintiff’s belatedly-submitted expert

declarations, which attempt to “patch and repair” significant gaps in the experts’ analyses and

conclusions, demonstrate as much.2

           Plaintiff’s claim for breach of implied warranty is similarly deficient. Plaintiff has no

evidence that defendants made any implied warranty to Mr. Smith, nor that if such a warranty

was made, Mr. Smith relied on it. Moreover, in a prescription drug case, the prescriber stands in

1
  Plaintiff’s suggestion that defendants have not moved for summary judgment on her negligence, strict liability, and
punitive damages claims, Pl. Opp. at 1, is thus not correct. Plaintiff does not dispute that causation is an essential
element of all of her claims. Moreover, defendants’ motion for summary judgment on plaintiff’s fraud claim, if
granted, would necessarily extinguish plaintiff’s derivative claim for punitive damages. To avoid any doubt on that
issue, defendants reserve the right to move on plaintiff’s punitive damages request at an appropriate time (for
instance after the Court rules on defendants’ dispositive motion on plaintiff’s fraud claim).
2
    Defendants filed concurrently herewith a separate Motion to Strike the expert declarations.

                                                          -2-
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 3 of 23




the shoes of the patient and plaintiff also lacks evidence that Mr. Smith’s prescribers relied on

any alleged implied warranty.

        Plaintiff’s claim for fraud likewise cannot survive summary judgment. Plaintiff has

previously admitted she has no evidence any affirmative misrepresentation was ever made (thus

conceding a lack of reliance) and provides no evidence of any affirmative misrepresentation in

her response. Instead, plaintiff improperly turns to a fraud-on-the-market theory—a theory

which Tennessee courts have expressly refused to apply in the common law fraud context.

Lacking an affirmative misrepresentation claim, plaintiff attempts to assert a fraudulent

“suppression” claim. This claim is similarly flawed, as plaintiff has no evidence on the essential

element of causation. She has neither proven that Mr. Smith’s physicians based their decisions

to prescribe Neurontin on information disclosed by the company, let alone information that was

not disclosed. Nor does plaintiff have any proof that the prescribing decisions would have been

different had the allegedly omitted information been disclosed. Instead, plaintiff alleges a pure

omission, which is not actionable in Tennessee absent a duty to disclose. Accordingly, the Court

should grant summary judgment on plaintiff’s fraud claim.

                                    LAW AND ARGUMENT

I.      PLAINTIFF CANNOT              ESTABLISH         THE     ESSENTIAL        ELEMENT         OF
        CAUSATION

        A.     PLAINTIFFHAS NO EVIDENCE THAT ANY ALLEGEDLY INADEQUATE WARNINGS
               PROXIMATELY CAUSED MR. SMITH’S SUICIDE.

        Plaintiff does not dispute that all of her claims are premised on an alleged failure to

provide adequate warnings about the risks of Neurontin, and that each claim is accordingly

subject to the learned intermediary doctrine. Compare Def. Br. at 7-8 with Pl. Opp. at 4-5. Nor

does plaintiff contest that, under the learned intermediary doctrine, a plaintiff asserting a failure

to warn theory must first prove that the product was defective or unreasonably dangerous by

                                                -3-
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 4 of 23




virtue of a defendant’s failure to warn the prescribing physician of a known risk, and then

establish that the alleged inadequate warning was the legal and proximate cause of plaintiff’s

claimed injury. See id. Notably, it is plaintiff’s burden to establish proximate cause; the plaintiff

must “trace [her] injury to the specific defect” alleged. King v. Danek Med., Inc., 37 S.W.3d

429, 435 (Tenn. Ct. App. 2000); Barnes v. Kerr Corp., 418 F.3d 583, 590 (6th Cir. 2005) (noting

that a plaintiff “must establish . . . that the inadequate labeling proximately caused the claimed

injury” under Tennessee law); Jastrebski v. Smith & Nephew Richards, Inc., No 02A01-9803-

CV-00068, 1999 WL 144935 (Tenn. Ct. App. Mar. 18, 1999) (“[T]he plaintiff must offer proof

to establish that the defect or unreasonably dangerous condition was the cause of plaintiff’s

claimed injury.”).

        Plaintiff cannot satisfy her burden of proving proximate cause for at least two reasons.

First, she has no evidence that Mr. Smith’s prescribing health care providers, Dr. Edward

Mackey and Nurse Practitioner Pamela Krancer, relied on the Neurontin package insert in

prescribing Neurontin to him. Second, plaintiff has no evidence that different or additional

warnings would have changed Mr. Smith’s prescribers’ decision to prescribe Neurontin to him.

                1.     Plaintiff has no evidence that Mr. Smith’s physicians relied on the
                       Neurontin label in prescribing the medication to him.

        Neither Dr. Mackey nor Nurse Krancer testified that they relied on the Neurontin label in

prescribing the medication to Mr. Smith. Summary judgment is warranted on this basis alone.

See Collins v. Danek Med. Inc., No. 96-3314, 95-2542, 1999 WL 33537313, at *10 (W.D. Tenn.

May 11, 1999) (granting summary judgment based on lack of proximate cause where there was

no evidence that healthcare providers relied on the package insert in prescribing a medication);

Watts v. Sofamor, S.N.C., No. 96 3248, 95-2542, 1999 WL 1866407, at *6 (W.D. Tenn. Apr. 19,

1999) (same).


                                                -4-
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 5 of 23




        Rather than citing affirmative evidence that the prescribers relied on the Neurontin label,

plaintiff rests on speculative testimony raising questions about whether the prescribers were even

exposed to the label. For instance, plaintiff notes that Dr. Mackey testified he “probably” read

the Neurontin package insert “a long time” before he prescribed Neurontin to Mr. Smith. Pl.

Opp. at 4. Plaintiff simultaneously ignores that Dr. Mackey testified that he typically does not

re-review prescription drug labeling on any kind of regular basis. Id.; Def. Br. at 9. Regarding

Nurse Krancer, plaintiff admits that she “doesn’t usually read the entire package insert,” but

ignores her testimony that she instead relies on books and “blurbs in journals about new

medications.”      Compare Pl. Opp. at 4 with Def. Br. at 9.                 This speculative testimony is

insufficient to satisfy plaintiff’s burden of proving proximate cause. See Formella v. Ciba-Geigy

Corp., 300 N.W.2d 356, 358 (Mich. Ct. App. 1980) (plaintiff failed to satisfy burden of proving

proximate cause where doctor admitted he read label in 1965, but did not look at the label

thereafter, such that inadequate warning could not have been proximate cause of injury from

drug prescribed in 1973).3

                 2.       Plaintiff has no evidence that different warnings would have changed
                          Mr. Smith’s health care providers’ decision to prescribe Neurontin to
                          him.

        Plaintiff also has no evidence that additional warnings about suicide would have changed

the providers’ prescribing decisions. Plaintiff does not dispute this lack of evidence regarding

the providers’ prescribing decisions. Nor could she. Dr. Mackey testified that he “didn’t know”

whether he would have still prescribed Neurontin to Mr. Smith in 2004, McGroder Decl., Ex. 2

at 42:17-43:11, but that if Mr. Smith walked into his office today, he would prescribe Lyrica—a

medication that was not available in 2004. Sayler Decl., Ex. 7 at 92:16-93:2 (Statement of Fact ¶

3
  See also Cupp v. Dixie Cycle Sales, Inc., No. 01A01-9401-CV-00492, 1995 WL 247965 (Tenn. Ct. App. Apr. 28,
1995) (citing Lindsey v. Miami Dev. Corp., 689 S.W.2d 856, 861 (Tenn. 1985)) (“[t]estimony of a speculative nature
is not evidence, and does not establish proximate cause.”).

                                                      -5-
5127283v.1
         Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 6 of 23




21). Plaintiff did not even ask Nurse Krancer whether she would have prescribed Neurontin to

Mr. Smith had she been given additional warnings and therefore has no affirmative evidence

whatsoever as to this issue.

        Instead of providing evidence regarding the physicians’ prescribing decisions, plaintiff

focuses on “treatment” and warnings that the prescribers would have communicated had they

been provided additional warnings. For example, plaintiff states that Dr. Mackey “probably”

would have changed the way he treated Mr. Smith, including providing warnings about certain

side effects, and that Nurse Krancer would have “educated” her patients about potential side

effects. See Pl. Opp. at 4-5. This evidence is insufficient to satisfy plaintiff’s burden of proof on

the issue of proximate cause.

        When analyzing proximate cause in failure to warn cases, the “dispositive question” is

whether additional warnings would have changed the prescribing doctor’s decision to prescribe

the drug to the patient. Motus v. Pfizer, Inc., 196 F. Supp. 2d 986, 997 (C.D. Cal. 2001), aff’d,

358 F.3d 659 (9th Cir. 2004).4 Testimony that a physician would have (1) changed his treatment

of a patient or (2) warned a patient simply does not raise a triable issue of fact on proximate

cause because whether the changes in treatment or additional warnings to the patient would have

prevented the patient from taking the medication and thus prevented the injury is purely

speculative. Vanderwerf v. SmithKlineBeecham Corp., 529 F. Supp. 2d 1294, 1313-14, n.23 (D.

Kan. 2008) (holding that testimony that physician would have monitored the patient more closely

and warned the patient of risks did not raise triable issue of fact where plaintiff had no evidence

4
  See also Ackermann v. Wyeth Pharms., 526 F.3d 203, 208 (5th Cir. 2008) (“the plaintiff must show that a proper
warning would have changed the decision of the treating physician, i.e., that but for the inadequate warning, the
treating physician would not have used or prescribed the product”); Hall v. Elkins Sinn, Inc., Civ. A. No. 02-0684,
2003 WL 25736053 at *4, n.1 (W.D. La. Sept. 29, 2003) (noting that “plaintiffs will be unable to show, as it is their
burden . . . that a proper warning would have changed the prescribing decision of the treating physician”)



                                                        -6-
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 7 of 23




that, given the additional monitoring and warning, the injury would have been avoided). As the

Vanderwerf court noted, in a products liability suicide case against a drug manufacturer,

“[s]peculation about how this tragedy might have been avoided is absolutely understandable and

perhaps inevitable, but plaintiffs cannot escape summary judgment based on speculation.” Id. at

1313-14.

        Because plaintiff has no evidence that additional warnings would have changed Mr.

Smith’s health care providers’ decision to prescribe Neurontin to him thereby preventing his

suicide, plaintiff cannot satisfy her burden on the essential element of proximate cause, and

summary judgment is appropriate on all of plaintiff’s claims. See Ross v. Sofamor, S.N.C., No.

95-2542, 1999 WL 613357 (W.D. Tenn. Mar. 10, 1999) (granting summary judgment because

there was no evidence that the manufacturer’s failure to warn was the proximate cause of the

doctors’ decision to use the product); King, 37 S.W.3d at 453 (holding that “the plaintiffs’ claims

in this regard fail because they have failed to establish that, had additional warnings been given,

the plaintiffs would not have sustained their injuries”).

        B.     PLAINTIFF HAS NO ADMISSIBLE EVIDENCE THAT MR. SMITH                       INGESTED
               NEURONTIN AT ANY TIME TEMPORALLY RELATED TO HIS SUICIDE.

        Plaintiff does not dispute that she bears the burden of proving actual ingestion of

Neurontin at a time temporally related to Mr. Smith’s suicide to succeed on any of her claims.

Instead, plaintiff attempts to retract Dr. Maris’ deposition testimony regarding the relationship

between Neurontin ingestion and elimination from the body and replace that testimony with a

declaration, submitted after the fact, that attempts to backfill the obvious problems in plaintiff’s

case. See Pl. Opp. at 3 (citing declaration). In addition, plaintiff claims that she has “non-

speculative evidence indicating that Mr. Smith was regularly taking Neurontin during the period




                                                -7-
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 8 of 23




of time temporally related to his suicide,” yet plaintiff cites to speculative testimony and

inadmissible hearsay. Id. at 4.

               1.      Plaintiff’s attempt to “patch and repair” Dr. Maris’ testimony regarding
                       Neurontin elimination from the human body is improper and
                       insufficient to satisfy her burden of proof.

        Plaintiff’s submission of a declaration from Dr. Maris attempting to explain the holes in

his deposition testimony after the fact is improper. Defendants have filed a separate motion to

strike Dr. Maris’ declaration and will not repeat the arguments made there again here.

        In addition, the expert testimony plaintiff submits—both from Dr. Maris and Professor

Trimble—on the issue of a temporal relationship between the last ingestion of Neurontin and

continuing adverse effects is speculative. Professor Trimble testified that “if you have a drug

which acts on the brain and influences brain chemistry, you may well have an effect which by far

outlasts the effect of the amount of the blood, of what’s in the blood,” but he never stated what

time period Neurontin supposedly affects “brain chemistry” nor provided any scientific support

for the notion that Neurontin has continuing effects on brain chemistry. Even in Dr. Maris’

belated declaration, he provides no guidance on how long Neurontin allegedly effects the brain’s

neurotransmitters, nor any support for his claim that Neurontin has a continuing effect. This

speculative and scientifically unsupported testimony does not help plaintiff satisfy her burden of

proving proximate cause.

               2.      Plaintiff has no non-speculative, admissible evidence that Mr. Smith
                       actually ingested Neurontin.

        Plaintiff relies on three pieces of evidence to attempt to create a triable issue of fact on

the issue of ingestion: (1) that Mr. Smith had been given samples of Neurontin; (2) Mrs. Smith’s

testimony that she “just knew” her husband was taking Neurontin; and (3) Mr. Smith’s




                                                -8-
5127283v.1
         Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 9 of 23




statements to various individuals regarding how Neurontin made him feel. None of this evidence

establishes that Mr. Smith ingested Neurontin at any time temporally related to his suicide.

        First, that Mr. Smith received samples is not evidence that he in fact ingested them.

Plaintiff has produced no evidence that Mr. Smith ever took a single Neurontin sample, a fact her

own expert acknowledges. Instead, plaintiff asks this Court to assume that because Mr. Smith

had been given samples, he in fact ingested them. Not only is this assumption rank speculation,

but it is also contrary to the evidence. When plaintiff produced the Neurontin samples in her

possession, none of the samples had been opened, no pills had been pushed through the blister

packs and no pills were missing—facts defendants noted, see Def. Brief at 7, n.4, and plaintiff

failed to refute in her response.

        Second, as explained in defendants’ motion and undisputed by plaintiff, self-serving

evidence on the issue of proximate cause, such as Mrs. Smith’s testimony that she “knew” Mr.

Smith took his Neurontin—even though she did not witness him take it—because that was “just

the way he did things,” is insufficient to raise a triable issue of fact. See Def. Br. at 5-7. Plaintiff

cites no authority suggesting that speculative testimony from an interested witness satisfies her

burden of proof.

        Third, plaintiff relies on various statements that Mr. Smith purportedly made to others

about Neurontin, which those individuals attempted to convey after Mr. Smith’s death. Not only

is this evidence inadmissible hearsay,5 but plaintiff has mischaracterized it.                     For instance,

plaintiff references a letter written by Dr. Wood, Mr. Smith’s dentist, in which the doctor

attempted to summarize a conversation he had with Mr. Smith at the request of Mr. Smith’s

daughter after Mr. Smith’s death. Yet, contrary to plaintiff’s assertion, the letter does not state


5
  See Fed. R. Evid. 801 (defining hearsay as “a statement, other than one made by the declarant while testifying at
the trial or hearing, offered in evidence to prove the truth of the matter asserted”).

                                                       -9-
5127283v.1
       Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 10 of 23




that Mr. Smith said he was “taking Neurontin” three days before his suicide. See plaintiff’s

Further Statement of Facts ¶ 7 and defendants reply thereto. Thus, even if the letter were

admissible (which it is not because it is pure hearsay), it is not evidence that Mr. Smith ingested

Neurontin three days before his suicide.

        At bottom, plaintiff has no non-speculative, admissible evidence that Mr. Smith ingested

Neurontin at any time temporally related to his suicide—a necessary prerequisite to recovery on

all of her claims.

        C.      PLAINTIFF HAS NO ADMISSIBLE EXPERT TESTIMONY ON THE ISSUE OF SPECIFIC
                CAUSATION.

        Plaintiff does not dispute that lack of expert opinion testimony on causation is a fully

dispositive defense. And, as discussed in defendants’ motion to exclude the expert testimony of

Dr. Maris and Professor Trimble, plaintiff lacks admissible expert testimony because neither of

the experts satisfies the reliability requirements of Daubert and Rule 702. See Def. Mot. Exclude

(Doc. 1629). Accordingly, summary judgment should be granted on all of plaintiff’s claims.

II.     PLAINTIFF HAS NOT RAISED A TRIABLE ISSUE OF FACT ON HER
        IMPLIED WARRANTY CLAIM

        Defendants moved for summary judgment on plaintiff’s implied warranty claim because:

(1) plaintiff has no evidence of reliance; and (2) plaintiff failed to give the required statutory

notice of an alleged breach. See Def. Br. at 12-14.

        A.      PLAINTIFF HAS NO EVIDENCE ON THE ELEMENT OF RELIANCE.

        Plaintiff has failed to provide any evidence on the essential element of reliance and

instead relies on inadmissible hearsay and bare allegations—insufficient at the summary

judgment stage in any event—that are unsupported by the actual evidence. Plaintiff claims that:

“there is evidence that Mr. Smith, while he was taking Neurontin, had searched the Internet for

information concerning Neurontin and found information that Neurontin was extremely

                                              - 10 -
5127283v.1
          Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 11 of 23




powerful, with numerous side effects.” See Pl. Opp. at 7. Plaintiff then states (without citation

to the record), “[a]ccordingly, there is evidence that Mr. Smith relied on information

disseminated by Defendants concerning the safety and effectiveness of Neurontin for pain, and

continued to take Neurontin to treat his pain based upon his reliance upon such information.”

See id.

          Not only has plaintiff improperly relied on bare allegations, but she has failed to point to

any alleged communication between Mr. Smith and defendants on which Mr. Smith allegedly

relied.      Indeed, that Mr. Smith “found information” on the Internet regarding Neurontin’s

“numerous side effects” is not evidence that this information was authored by defendants. It is

more likely that Mr. Smith may have stumbled across a lawyer advertisement sponsored by

plaintiff’s counsel’s firm. Moreover, the alleged communication appears in the after-the-fact

letter written by Dr. Wood, attempting to summarize his conversation with Mr. Smith, which as

discussed previously, is hearsay and, hence, inadmissible. In addition, Mr. Smith’s physicians,

not defendants, selected Neurontin for him and there is no evidence the prescribers relied on any

implied warranties—facts plaintiff ignores in her response. Because plaintiff has no evidence on

the issue of reliance, summary judgment is proper. See, e.g., Baker v. Promark Prods. West,

Inc., 692 S.W.2d 844, 849 (Tenn. 1985).

          B.      PLAINTIFF FAILED TO GIVE THE REQUISITE STATUTORY NOTICE.

          Plaintiff does not dispute that, under Tennessee law, she must “within a reasonable time

after [s]he discovers or should have discovered any breach notify the seller of breach or be

barred from any remedy.” See Tenn. Code Ann. § 47-2-607(3)(a) (2008). Nor does plaintiff

dispute that she failed to provide any notice to defendants prior to filing suit in federal court.

Instead, plaintiff attempts to distinguish Friedman v. Gerogia Showcase Co., 183 S.W.2d 9, 27

(Tenn. Ct. App. 1944), on the grounds that the case: (1) involved a sales contract; and (2) “the

                                                 - 11 -
5127283v.1
       Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 12 of 23




plaintiff did not provide notice until at least two years after the alleged breach, when the

pleadings were filed in the case.” See Pl. Opp. at 7. Neither of these bases is persuasive.

        First, that Friedman involved a sales contract, is not unexpected. A breach of implied

warranty claim is governed by Tennessee’s Uniform Commercial Code and includes as an

element reliance by a buyer on a seller. See Tenn. Code Ann. § 47-2-315 (2008); Alumax

Aluminum Corp. v. Armstrong Ceiling Sys., Inc., 744 S.W.2d 907, 910 (Tenn. Ct. App. 1987).

Moreover, plaintiff does not dispute that statutory notice is required for breach of implied

warranty claims.

        Second, Friedman is on all fours with this case. As in Friedman, plaintiff here failed to

provide any notice of the breach before filing suit. That the plaintiff in Friedman waited two

years to file suit, while plaintiff in the instant case waited one year, is not a meaningful

distinction given the policy considerations underlying the notice requirement, which include,

among other things, affording the seller an opportunity to arm himself for litigation; allowing the

seller to close the book on goods which have been sold in the past; and giving the seller

immunity against stale claims. White and Summers, Uniform Commercial Code § 11-10 at 421.

        It is undisputed that plaintiff provided no notice of any alleged breach of implied

warranty prior to filing suit. Accordingly, plaintiff is barred from pursuing her claim. See Tenn.

Code Ann. § 47-2-607(3)(a).6




6
  See also Wilcox v. Hillcrest Mem’l Park, 696 S.W.2d 423, 424 (Tex. Ct. App. 1985) (“It would be untenable to
allow a buyer . . . to recover damages for breach of warranty from a remote seller or manufacturer who was never
even made aware that the product in question was defective and who, consequently, never had an opportunity to
remedy the defect to the buyer’s satisfaction before litigation was commenced.”).


                                                    - 12 -
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 13 of 23




III.     PLAINTIFF’S FRAUD CLAIMS ARE DEFICIENT WHETHER COUCHED IN
         TERMS OF AFFIRMATIVE MISREPRESENTATION OR “SUPPRESSION”

         A.       PLAINTIFF HAS NOT RAISED A TRIABLE ISSUE OF FACT ON HER AFFIRMATIVE
                  FRAUDULENT MISREPRESENTATION CLAIM.

                  1.       Plaintiff has no evidence any affirmative misrepresentation was ever
                           made, or that plaintiff’s prescribing physicians relied on it.

         Plaintiff concedes that she has no evidence of an affirmative misrepresentation made by

defendants to Mr. Smith’s prescribing physicians.7 This concession comes as no surprise given

similar representations at the October 20, 2008 hearing on defendants’ motion to dismiss the

fraud claim and given the testimony of Mr. Smith’s prescribing physicians. See Def. Br. at 14-

15. Plaintiff’s admission that she has no evidence of an affirmative misrepresentation is fatal to

her fraudulent misrepresentation claim.

         This Court has long noted that plaintiff must first plead specific misrepresentations made

to Mr. Smith’s physicians that caused them to prescribe Neurontin to him. Indeed, on February

23, 2007, the Court dismissed plaintiff’s fraud claim based on her failure to plead fraud with

particularity as required by Rule 9(b). Mem. & Order (Doc. 646). But the Court gave plaintiff

another chance and allowed “plaintiff[] to amend [her] complaint to allege fraud with

particularity, including specific misrepresentations that [Mr. Smith’s] doctors allegedly relied

on” Id. (emphasis added); see also Oct. 20, 2008 Hr’g Tr. at 30 (“So I need a fraudulent

statement, or you don’t meet 9(b). That’s the crux of it.”). Plaintiff still has failed to plead fraud

with particularity, admitting that she cannot tie any of the allegedly fraudulent

misrepresentations to Mr. Smith’s prescribers. See Def. Br. at 14-15. The failure to even plead




7
  Pl. Opp. at 14 (“Consequently, even in the absence of a specific affirmative misrepresentation by Defendants,
Plaintiff raises issues of material facts in dispute as to whether Plaintiff’s prescribing medical providers relied upon
Defendants’ suppression of depression and suicidality information.”) (emphasis added).

                                                        - 13 -
5127283v.1
       Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 14 of 23




with particularity a fraudulent misrepresentation related to Mr. Smith’s prescribers requires

dismissal of plaintiff’s claim.

        Moreover, at the summary judgment stage, plaintiff must do more than merely plead

specific misrepresentations on which Mr. Smith’s prescribers allegedly relied.          Rather, to

succeed at the summary judgment stage, plaintiff must prove inter alia that an intentional

misrepresentation with regard to a material fact was made, and that the plaintiff reasonably relied

on the misrepresentation and suffered damages. Ross, 1999 WL 613357 at * 6.

        Plaintiff has established neither (1) that a false representation was made nor, (2) that,

assuming such a representation was made, Mr. Smith’s physicians relied on it in prescribing

Neurontin to him. After deposing Mr. Smith’s prescribing physicians, plaintiff’s counsel

admitted he had no evidence that any affirmative misrepresentation was ever made to the

prescribers. See Def. Br. at 14, n.8. It is axiomatic that if an affirmative misrepresentation was

not made, the physicians could not have relied on it. Indeed, Nurse Krancer testified that she

does not prescribe drugs based on what a sales representative tells her, but instead educates

herself about the medication. Sayler Decl., Ex. 9 at 12:8-16 (56.1 Statement, ¶ 26). Plaintiff’s

failure to establish a false misrepresentation of a material fact on which Mr. Smith’s prescribers

relied mandates summary judgment on her claim for affirmative fraudulent misrepresentation.

See Ross, 1999 WL 613357 at *6 (granting summary judgment where plaintiff lacked evidence

of reliance).

                2.     Plaintiff’s fraud-on-the-market theory of reliance is flawed.

        Plaintiff claims that triable issues of fact remain on her fraudulent misrepresentation

claim despite admitting she has no evidence any misrepresentation was ever made. Plaintiff

claims that evidence related to the alleged “off-label promotion scheme,” the fact that Mr.

Smith’s prescribers were detailed, and testimony that Mr. Smith’s prescribers base prescribing

                                              - 14 -
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 15 of 23




decisions on communications with other physicians, coupled with testimony that the physicians

read journals (albeit Dr. Mackey testified he did not read pain literature), demonstrate that the

prescribers “could have” relied on defendants’ off-label marketing in prescribing Neurontin to

Mr. Smith. See Pl. Opp. at 15-16. As this Court has made clear countless times, allegations of

off-label promotion are not a sufficient basis to plead and prove a fraud claim.

         Moreover, as noted in defendant’s brief, vague allegations about “off-label” conduct—

unconnected to Mr. Smith’s doctors—are also invalid because they amount to nothing more than

an attempt to circumvent the requirements of a common law fraud claim by resorting to a

federal, securities-based, fraud-on-the-market theory. See Def. Br. at 17. Notably, Tennessee

has not even adopted the federal securities law fraud-on-the-market theory, let alone accepted the

doctrine in the common law fraud context. See Constantine v. Miller Indus., Inc., 33 S.W.3d

809, 811 (Tenn. Ct. App. 2000) (noting that Tennessee has not adopted the federal securities law

fraud-on-the-market theory); In re Sofamor Danek Group, Inc., 123 F.3d 394, 403-04 (6th Cir.

1997) (concluding that the Tennessee Supreme Court, if faced with the issue, would require a

showing of actual reliance as a condition of recovery for common law fraud and rejecting a

fraud-on-the-market theory).8

         Plaintiff cites no Tennessee authority suggesting that a fraud-on-the-market theory is a

viable basis on which to prove a common law fraud claim.9 Indeed, this Court recognized that


8
  See also Kaufman v. i-Stat Corp., 754 A.2d 1188, 1198 (N.J. 2000) (“Since the Supreme Court accepted fraud on
the market in [Basic Inc. v. Levinson, 485 U.S. 224 (1998)] . . . no state court with the authority to consider whether
Basic is persuasive has chosen to apply it to claims arising under its own state’s laws.”); Summit Props. Inc. v.
Hoechst Celanese Corp., 214 F.3d 556, 561 (5th Cir. 2000) (noting that “[n]o court has accepted the use of [the
fraud-on-the-market theory] outside of the context of securities fraud”), cert. denied, 531 U.S. 1132 (2001); Sikes v.
Teleline, Inc., 281 F.3d 1350, 1363 (11th Cir. 2002) (noting that the Eleventh Circuit has recognized that neither it
nor the United States Supreme Court has extended the presumption of reliance outside the context of securities cases
because “[t]he securities market presents a wholly different context than a consumer fraud case”).
9
 All of plaintiff’s legal authority, save a single case, involve sales and marketing or consumer protection act claims,
which are distinguishable from a common law fraud claim in a products liability case. The only products liability

                                                        - 15 -
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 16 of 23




plaintiff’s fraud-on-the-market theory has “big problems,” Def. Br. at 17. Plaintiff’s attempt to

rely on a fraud-on-the-market theory should accordingly be rejected.10

         B.       PLAINTIFF HAS NOT RAISED A TRIABLE ISSUE OF FACT ON HER FRAUDULENT
                  OMISSION CLAIM.

         Lacking an affirmative fraudulent misrepresentation claim, plaintiff claims she has raised

a triable issue of fact on a fraudulent omission or “suppression” claim. Plaintiff alleges that

defendants failed to disclose information regarding “depression/suicidality” in the Neurontin

label (and by failing to send Dear Doctor Letters) and that sales representatives failed to disclose

information regarding depression and suicide. Pl. Opp. at 8. None of this evidence creates a

triable issue of fact on plaintiff’s fraudulent omission claim.11




case involving a common law fraud claim plaintiff cites, Knipe v. SmithKline Beecham, 583 F. Supp. 2d 602 (E.D.
Pa. 2008), is distinguishable. First, the Knipe court applied New Jersey, not Tennessee, law. New Jersey recognizes
the principle of “indirect reliance” in the off-label context, under which the Knipe court permitted a claim to proceed
because evidence suggested the prescribing physician “might have” been indirectly influenced by fraudulent
promotion. Id. at 621-22. No such comparable principle is recognized in Tennessee. In fact, Tennessee courts have
not adopted the Restatement (Second) of Torts § 310, which provides for “third party fraud.” Carter v. Danek Med.,
Inc., No. CIV. 96-3243-G, 1999 WL 33537317 at *5 (W.D. Tenn. June 3, 1999).
10
   Plaintiff also references the opinions of Charles King, a purported “general causation expert,” Pl. Opp. at 18-19,
but this evidence likewise fails to establish a causal link between an affirmative misrepresentation made to Mr.
Smith’s physicians and their decisions to prescribe Neurontin to him. Dr. King admitted that he has done no case-
specific analysis and has no case-specific conclusions. McGroder Decl., Ex. 10 at 84:6-14. He has likewise offered
no valid economic or statistical basis for concluding that any particular Neurontin prescription was caused by any
particular alleged misrepresentation by defendants. Id. at 124-26. Thus, Dr. King is not offering any opinion as to
whether any of Mr. Smith’s Neurontin prescriptions were caused by any misrepresentations. Indeed, he made no
effort to learn and is not familiar with any of the facts of the Smith case. Id. at 83:16-23; 85:24-86:4.
11
    Plaintiff also includes a laundry list of information that she claims shows defendants knew Neurontin was
associated with “depression/suicidality.” See Pl. Opp. at 11-13 This is the same information that plaintiff relied on
as “red flags” to support her general causation case. As discussed in detail in the general causation Daubert
briefing, this evidence does not establish an association between Neurontin and suicide or depression, let alone that
Neurontin causes such events. Because this issue has been fully briefed, defendants will not repeat the numerous
flaws in plaintiff’s reliance on this evidence here and instead incorporate by reference their response to this evidence
in the general causation Daubert briefing. See Def. Mem. Supp. Mot. Exclude (Doc. 1158); Def. Reply in Supp.
Mot. Exclude (Doc. 1239). Moreover, in contravention of Local Rule 56.1, plaintiff does not include any of this
information in her Separate Statement where she purports to set forth the undisputed facts on which she relies.
Finally, as discussed infra II.A.1., because plaintiff cannot establish that Mr. Smith’s physicians based their decision
to prescribe Neurontin on any information from defendants (disclosed or not disclosed), or that the prescribing
decisions would have been different if they had received representations that plaintiff believes would be proper, this
information is irrelevant to plaintiff’s fraudulent omission claim.

                                                        - 16 -
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 17 of 23




                  1.       Plaintiff lacks evidence on the essential element of causation.

         Whether couched in terms of affirmative misrepresentation or fraudulent omission,

plaintiff must produce evidence that Mr. Smith’s prescribers relied on information that was

disclosed or that the allegedly omitted information would have affected the prescribing decision.

Ross, 1999 WL 613357, at *6 (requiring evidence of reliance on information disclosed or not

disclosed).     In other words, a plaintiff must show a causal relationship between the allegedly

suppressed information and the plaintiff’s injuries. See id. (noting that plaintiff failed to show

that any representations made or not made about a medical device “proximately caused

plaintiff’s injury”); Cf. Garrett v. Mazda Motors of Am., 844 S.W.2d 178 (Tenn. Ct. App. 1992)

(affirming judgment in favor of plaintiff because inter alia a causal connection existed between

the alleged concealment and plaintiff’s injury).

         At the most fundamental level, plaintiff lacks evidence of a causal connection between

defendants’ alleged nondisclosure and plaintiff’s injury. First, plaintiff has no evidence that Mr.

Smith’s physicians based their decision to prescribe Neurontin to him on any information from

defendants.12 As noted above, plaintiff has failed to produce evidence that Mr. Smith’s providers

even reviewed the Neurontin label prior to prescribing Neurontin to Mr. Smith, let alone that the

physicians relied on it for this purpose. See supra I.A.1. In addition, Nurse Krancer testified that

she does not prescribe drugs based on what a sales representative tells her. Sayler Decl., Ex. 9 at

12:8-16 (56.1 Statement, ¶ 26).

         Second, plaintiff lacks evidence that, had defendants disclosed the allegedly omitted

information (the alleged risk of depression and suicide) either in the label, or in a visit by a


12
    Plaintiff includes allegations about Dr. McCombs, presumably in support of her fraudulent omission claim.
However, as set forth in defendants’ motion for summary judgment, Def. Br. at 9, n.6, Dr. McCombs prescribed
Neurontin for Mr. Smith in 2003, and it is undisputed that Mr. Smith did not fill or take the Neurontin prescribed at
this time.

                                                       - 17 -
5127283v.1
       Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 18 of 23




territory representative, Mr. Smith’s physicians’ prescribing decisions would have changed. In

fact, Dr. Mackey testified that he “didn’t know” whether he would have prescribed Neurontin to

Mr. Smith if he had the known that Neurontin increases the risk of depression and suicide.

McGroder Decl., Ex. 2 at 42:17-43:11. Moreover, as discussed above, plaintiff did not even ask

Nurse Krancer if she would have prescribed Neurontin if she had been informed about an alleged

increased risk of depression and suicide.

        Instead of coming forward with evidence of a causal connection between allegedly

omitted information and Mr. Smith’s injury, plaintiff relies on a laundry list of information she

claims Mr. Smith’s prescribers “wanted to know” in prescribing the medication. See Pl. Opp. at

14. But testimony that the prescribers wanted to know additional information does not satisfy

plaintiff’s burden of proving causation at the summary judgment stage. See Nix v. SmithKline

Beecham Corp., No. CV-06-43-PHX-SMM, 2007 WL 2526402, at *3 (D. Ariz. Sept. 5, 2007).

In Nix, much like the case at bar, the prescriber testified that he would have liked to have known

more about deaths associated with the medication Serevent. Id. The court found that “merely

raising the possibility that [the prescriber] might have acted differently is not enough to satisfy

Plaintiffs’ burden of proof on causation” because plaintiffs “must do more than simply show that

there is some metaphysical doubt as to the material facts.” Id.

        Because plaintiff has no evidence that Mr. Smith’s physicians based their decision to

prescribe Neurontin on incomplete information, or that had such information been disclosed, it

would have affected the prescribers’ decisions, she cannot establish the essential element of

causation. She has no evidence that any purported omission caused Mr. Smith’s suicide, and

summary judgment is therefore proper. See Ross, 1999 WL 613357, at *6 (granting summary




                                              - 18 -
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 19 of 23




judgment because plaintiff had no evidence of reliance and also noting that plaintiff likewise

failed her burden of proving proximate cause).

                  2.       Plaintiff’s suggestion that causation may be presumed is misplaced.

         In a last ditch attempt to save her fraudulent omission claim, plaintiff asks the Court to

presume causation (i.e., that Mr. Smith’s prescribers would have heeded an adequate warning),

on the basis of the heeding presumption applicable in the failure to warn context. See Pl. Opp. at

14-15. In particular, plaintiff relies on the heeding presumption in Comment j of Section 402A

of the Restatement (Second) of Torts.13                  Plaintiff cites no Tennessee authority, however,

applying the heeding presumption in the context of a strict liability failure to warn claim. Given

that Tennessee courts have not even applied the heeding presumption in Comment j to failure to

warn claims, the Court should reject plaintiff’s reliance on the presumption in the context of her

fraud claim.14



13
   Thomas v. Hoffman-LaRoche, Inc., 949 F.2d 806, 812 (5th Cir. 1992) on which plaintiff relies likewise provides
no support for the contention that causation may be presumed in the context of a fraudulent omission claim. Rather,
this court’s discussion of Comment j was solely in the context of a strict liability claim for inadequate warning. Id.
at 812-14. Moreover, the court rejected plaintiff’s “contention that causation is presumed, given an inadequate
warning, in the context of an unavoidable risk.” Id. at 814.
14
    Plaintiff’s suggestion that causation on her fraud claim may be presumed on the basis of Comment j demonstrates
a fundamental misunderstanding of the difference between a failure to warn claim based on strict liability and a
common law fraudulent suppression claim. As the Court has noted, a failure to warn and a fraud claim are “two
different causes of action,” subject to different standards. Oct. 20, 2008 Hr’g Tr. at 19. Indeed, the Court noted that
it is “harder to prove fraud” than failure to warn. Id.

Moreover, Section 402A deals with strict products liability, not fraud. See Section 402A Restatement (Second) of
Torts, Comment a (“This Section states a special rule applicable to sellers of products. The rule is one of strict
liability, making the seller subject to liability to the user or consumer even though he has exercised all possible care
in the preparation and sale of the product.”). And Comment j to Section 402A discusses strict liability failure to
warn claims, providing that a seller may give an adequate warning to prevent a product from being unreasonably
dangerous, and hence, subjecting the manufacturer to strict liability. Restatement Second of Torts § 402A,
Comment j. The Comment goes on to provide that “[w]here a warning is given, the seller may reasonably assume
that it will be read and heeded; and a product bearing such a warning, which is safe for use if it is followed, is not in
defective condition, nor is it unreasonably dangerous.” Id. Plaintiff has not cited a single Tennessee state or federal
case (or any other authority for that matter) holding that Comment j applies to common law fraudulent omission
claims.


                                                         - 19 -
5127283v.1
        Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 20 of 23




                 3.       Plaintiff relies on a mere failure to disclose, which is not actionable
                          absent a duty to disclose.

        In addition to her failure to prove causation, plaintiff cannot make out a fraud claim based

on a pure omission because she cannot establish a duty to disclose. Tennessee courts have

recognized that in the absence of a special relationship (such as a fiduciary relationship) giving

rise to a duty to disclose, fraud by concealment or suppression of the truth requires “something

more than mere silence, or a mere failure to disclose known facts . . . . Concealment in this sense

may consist in withholding information asked for, or in making use of some device to mislead,

thus involving act or intention.” J.O. House v. J.K. Edmondson, No. W2005-00092-COA-R3-

CV, 2006 WL 1328810 (Tenn. Ct. App. May 16, 2006) (quoting Patten v. Standard Oil Co. of

La., 55 S.W.2d 759, 761 (Tenn. 1933)).

        Plaintiff has no evidence that defendants “with[eld] information asked for, or ma[de] use

of some device to mislead,” causing Mr. Smith’s physicians to prescribe Neurontin to him.

Instead, plaintiff relies on a “mere failure to disclose” which is not actionable absent a special

duty.15 Accordingly, plaintiff’s claim based on defendants’ alleged failure to disclose facts fails

as a matter of law.

                                               CONCLUSION

        Summary judgment should be granted on all of plaintiff’s claims because she lacks

necessary evidence on the essential element of causation. In addition, plaintiff has failed to raise


15
   As explained in defendants’ motion for summary judgment, defendants had no duty to disclose that Neurontin
increases the risk of, or causes, suicide, as this information was not known to defendants at the time Mr. Smith was
prescribed Neurontin. Def. Mem. Supp. Summ. J. at 32 (Doc. 1162). Moreover, to this day, defendants still have no
duty to disclose that Neurontin causes depression because there is no evidence that Neurontin is even associated
with an increased risk of depression—a fact that plaintiff’s experts admit and with which FDA agrees. McGroder
Decl., Ex. 1 at 98:2-20 (admitting that the incidence of depression was higher in patients taking placebo than
patients taking Neurontin in the combined epilepsy and neuropathic pain clinical trials); McGroder Decl., Ex. 11 at
342:7-12 (same); McGroder Decl., Ex. 12 at ¶¶ 46 (“Throughout my career at FDA, I never concluded that
Neurontin increases the risk of or causes depression or suicidal behavior. This remains my belief today.”), 14-15,
21, 28, 36.

                                                      - 20 -
5127283v.1
       Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 21 of 23




a triable issue of fact on her claims for breach of implied warranty and fraud, including both her

affirmative fraudulent misrepresentation and fraudulent omission claims. Finally, plaintiff does

not oppose defendants’ motion as to her express warranty and Tennessee Consumer Protection

Act claims. Defendants thus respectfully request that this Court grant their motion for summary

judgment.




                                              - 21 -
5127283v.1
       Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 22 of 23




Dated: March 12, 2009               Respectfully submitted,



                                    DAVIS POLK & WARDWELL

                                    By:       /s/ James P. Rouhandeh
                                              James P. Rouhandeh

                                    450 Lexington Avenue
                                    New York, NY 10017
                                    Tel: (212) 450-4000

                                              -and-

                                    SHOOK, HARDY & BACON L.L.P.

                                    By:       /s/ Scott W. Sayler
                                              Scott W. Sayler

                                    2555 Grand Blvd.
                                    Kansas City, MO 64108-2613
                                    Tel: (816) 474-6550

                                              -and-

                                    WHITE & WILLIAMS

                                    By:       /s/ David B. Chafffin
                                              David B. Chaffin

                                    100 Summer Street, 27th Floor
                                    Boston, MA 02110
                                    Tel: (617) 748-5200

                                    Attorneys for Defendants Pfizer    Inc.   and
                                    Warner-Lambert Company LLC




                                     - 22 -
5127283v.1
       Case 1:04-cv-10981-PBS Document 1708 Filed 03/12/09 Page 23 of 23




                            CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on March 12, 2009.


                                                  /s/David B. Chaffin
                                                  David B. Chaffin




                                         - 23 -
5127283v.1
